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 6                         IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
     Arizona Attorneys for Criminal Justice, )    No. CV-17-01422-PHX-SPL
 9                                           )
     et al.,                                 )
10                                           )    AMENDED ORDER*
                     Plaintiffs,             )
11   vs.                                     )
                                             )
12                                           )
     Doug Ducey, et al.,                     )
13                                           )
                                             )
                     Defendants.             )
14
15          This matter was tried before the Court on September 22, 2022. Pursuant to the
16   Findings of Fact and Conclusions of Law (Doc. 269) filed November 2, 2022, the Court
17   finds in favor of Plaintiffs. Accordingly,
18          THE COURT DECLARES that A.R.S. § 13-4433(B) violates the First
19   Amendment of the United States Constitution.
20          IT IS ORDERED that Defendants, their officers, agents, servants, employees,
21   and attorneys, and those persons in active concert or participation with them, are
22   permanently enjoined from enforcing A.R.S. § 13-4433(B) against a criminal defendant’s
23   attorney or an agent of that attorney.1
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            *
                This Order amends the Court’s November 2, 2022 Order (Doc. 270).
            1
26            Nothing in this Order shall be construed as enjoining Defendants from enforcing
     A.R.S. § 13-4433(B) against a criminal defendant or an agent of the criminal defendant
27   who is not the criminal defendant’s attorney or an agent of that attorney. Nor shall
     anything in this Order be construed to enjoin A.R.S. § 13-4433(B)’s requirement that
28   “[t]he prosecutor’s office shall promptly inform the victim of the defendant’s request for
     an interview and shall advise the victim of the victim’s right to refuse the interview.”
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 1          IT IS FURTHER ORDERED that Defendant Brnovich, his officers, agents,
 2   servants, employees, and attorneys, and those persons in active concert or participation
 3   with him, are permanently enjoined from requiring that a criminal defendant’s attorney or
 4   an agent of that attorney comply with A.R.S. § 13-4433(B).
 5          IT IS FURTHER ORDERED that Defendant Brnovich, his officers, agents,
 6   servants, employees, and attorneys, and those persons in active concert or participation
 7   with him, are permanently enjoined from making referrals for disciplinary investigations
 8   or other sanctions against a criminal defendant’s attorney or an agent of that attorney
 9   based on an alleged violation of A.R.S. § 13-4433(B).
10          IT IS FURTHER ORDERED that Defendants Vessella and Silbert, their
11   officers, agents, servants, employees, and attorneys, and those persons in active concert
12   or participation with them, are permanently enjoined from conducting investigations,
13   pursuing discipline, and imposing discipline against a criminal defendant’s attorney or an
14   agent of that attorney based on an alleged violation of A.R.S. § 13-4433(B).
15          IT IS FURTHER ORDERED that in accordance with the Court’s November 23,
16   2022 Order (Doc. 276), the deadline to file a fee petition and bill of costs shall be
17   fourteen (14) days after the Ninth Circuit issues a decision on the appeal.
18          IT IS FURTHER ORDERED that Plaintiffs’ Motion for Preliminary Injunction
19   (Doc. 238) is denied as moot.
20   ///
21   ///
22   ///
23   ///
24   ///
25
     Finally, nothing in this Order shall be construed to enjoin enforcement of any other
26   provision of Arizona law, including a crime victim’s right to refuse an interview,
     deposition or other discovery request pursuant to Article II, § 2.1(A)(5) of the Arizona
27   Constitution and the requirement under Arizona Rule of Criminal Procedure 39(b)(12)
     that the defense must communicate a request to interview a victim to the prosecutor
28   rather than the victim.

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 1         IT IS FURTHER ORDERED that the Clerk of Court shall enter judgment in
 2   favor of Plaintiffs against Defendants and terminate this action.
 3         Dated this 7th day of December, 2022.
 4
                                                       Honorable Steven P. Logan
 5                                                     United States District Judge
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